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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

TDC INTERNATIONAL CORP.
f/k/a G.E. THOMPSON DEVELOPMENT CORP,

            Plaintiff,                             Case No. 08-cv-14792
                                                   Hon. Robert H. Cleland
v.

JAE L. BURNHAM, d/b/a QUICK AND
EASY MOVING, and QUICK AND EASY
MOVING, LLC

            Defendants.

_______________________________________/
BRIAN C. GRANT (P71066)
NATHAN D. PETRUSAK (P75359)
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________________________________________/

                                    APPEARANCE

TO: Clerk of the Court; Attorneys of Record

      Please enter the Appearance of the undersigned as counsel for Plaintiff in the

above captioned matter.
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                                        O’REILLY RANCILIO P.C.

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                          CERTIFICATE OF SERVICE
      I hereby certify that on November 7, 2018, I electronically filed the

foregoing Appearance (of Nathan D. Petrusak) with the Clerk of the Court using

the ECF System which will send notifications of such filing to all parties of record

if they are registered users, or if they are not, by placing a true and correct copy in

the United States Mail, postage prepaid, to their address of record.


                                        O’REILLY RANCILIO P.C.

                                        By:    /s/ Nathan D. Petrusak
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